

People v Coleman (2024 NY Slip Op 01350)





People v Coleman


2024 NY Slip Op 01350


Decided on March 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 14, 2024

Before: Webber, J.P., Oing, González, Kennedy, Shulman, JJ. 


Ind. No. 262/16 Appeal No. 1841 Case No. 2017-2207 

[*1]The People of the State of New York, Respondent,
vDarnell Coleman, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Désirée Sheridan of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Anna Notchick of counsel), for respondent.



Judgment, Supreme Court, New York County (Abraham L. Clott, J.), rendered June 29, 2016, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the third degree, and sentencing him to five years' probation, unanimously affirmed.
The waiver of defendant's right to appeal was invalid. The court did not adequately explain the nature of the right to appeal to defendant, or confirm that defendant understood the written waiver or that he had discussed it with counsel (see People v Bonilla, 211 AD3d 614, 615 [1st Dept 2022]; People v Thorne, 207 AD3d 73, 77 [1st Dept 2022]).
Based on our in camera review of the unredacted search warrant application and the minutes of the examination of the confidential informant by the issuing court, we find that there was probable cause to issue the warrant (see People v Williams, 59 AD3d 339, 341 [1st Dept 2009], lv denied 12 NY3d 861 [2009]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 14, 2024








